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Los Angeles, California 90048-4920
Telephone: (323) 852-1000
Facsimile: (323) 651-2577

Attorneys for CAPITAL NETWORK

FUNDING, DUSTIN WHITE and
BLAKE JOHNSON

AXIS CAPITAL, INC., a corporation,
Plaintiff,

Vv.

CAPITAL NETWORK FUNDING, a
California corporation dba CAPITAL

CAPNET LEASING; DUSTIN
WHITE; BLAKE JOHNSON; Does 1-
100, Inclusive,

Defendants.

Andrew K. Alper (State Bar No. 088876)

NETWORK LEASING CORP. also dba

 

 

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FRANDZEL ROBINS BLOOM & CSATO, L.C.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

CASE No. CV 10-4201-GHK (PJWx)

NOTICE OF MOTION AND
MOTION TO DISMISS CLAIMS
FOR MONEY FOR FAILURE TO
STATE A CLAIM ON WHICH
RELIEF CAN BE GRANTED OR,
ALTERNATIVELY, MOTION FOR
A MORE DEFINITE STATEMENT;
DECLARATION OF DUSTIN
WHITE

[F.R.Civ.P. 12(b)(6), 12(e)]
Date: August 9, 2010

Time: 9:30 a.m.
Crtrm: 650

TO PLAINTIFFS AND TO THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on August 9, 2010, at 9:30 a.m., or soon
thereafter this matter may be heard in Courtroom 650 of the Honorable George H.
King located at Edward R. Roybal Federal Building, 255 East Temple Street, Los
Angeles, California, 90012, Defendants Capital Network Funding, California
corporation dba Capital Network Leasing Corp., Dustin White and Blake Johnson

(collectively "Defendants") will move this court for an order dismissing the First,

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NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

 
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Second and Third claims for relief filed by Plaintiffs Axis Capital, Inc. ("Plaintiff")
pursuant to Federal Rules of Civil Procedure, Rule 12(b)(6), as said claims for relief
fail to state claims upon which relief can be granted in that the allegations in the .
Complaint are directly contradicted by the written agreements attached to the
Complaint and are barred by the Parol Evidence Rule as set forth in California Code
of Civil Procedure § 1856 and Commercial Code §§ 2202 and §10202. Further, the
first, second and third causes of action have not been pled with specificity as
required by Federal Rules of Civil Procedure, Rule 9(b).

In the alternative, Defendants move for a More Definite Statement pursuant to
Federal Rules of Civil Procedure, Rule 12(e) on the grounds that the allegations in
the Complaint are so vague and ambiguous that Defendants cannot be reasonably
required to frame a responsive pleading.

This Motion will be based upon this Notice, the accompanying Memorandum
of Points and Authorities, the Declaration of Dustin White, the pleadings and papers
on file herein, the Complaint and its exhibits, and such other further or documentary

evidence as may be presented at the time of the hearing.

FRANDZEL ROBINS BLOOM &
CSATO, L.C.

DATED: July 8, 2010

By: /s/ Andrew K. Alper
ANDREW K. ALPER
Attorneys for CAPITAL NETWORK
FUNDING, a California corporation dba
CAPITAL NETWORK LEASING CORP.
also dba CAPNET LEASING; DUSTIN
WHITE and BLAKE JOHNSON

 

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MEMORANDUM OF POINTS AND AUTHORITIES
I.
INTRODUCTION

This action arises out of CAPITAL NETWORK FUNDING, a California
corporation dba CAPITAL NETWORK LEASING CORP. ("CAPNET") referring a
potential borrower for loan to Plaintiff Axis Capital, Inc. ("Plaintiff"). CAPNET is a
broker of equipment lease and loan transactions. Defendants Dustin White and
Blake Johnson are principals and officers of CAPNET and have been named herein
as Guarantors with respect to the obligations alleged to be due by CAPNET to
Plaintiff.

Plaintiff contends in its Complaint that Defendants and Plaintiff entered into a
Lease Origination Agreement and Guarantee [sic] ("Agreement") whereby
CAPNET agreed from time to time to submit applications to Plaintiff for financing
of certain lease transactions with CAPNET retaining either an ownership interest in
and to the subject leased equipment or an interest in and to a specified lease residual
upon the timely completion of the subject leases at maturity (see page 2, para. 5,
lines 16-22 of the Complaint). The Complaint alleges that on February 19, 2008,
under the express terms of the Agreement, Plaintiff approved CAPNET'S
application to provide equipment lease financing to K & S Transportation, LLC
("K&S") and Plaintiff thereafter entered into a written equipment lease with K&S.
(See page 2, para. 6, lines 24-27 of the Complaint). Attached to the Complaint is a
copy of the Lease and the Lufkin Invoice as to the equipment leased as Exhibits 2
and 3 (see page 3, para. 6, lines 1-7 of the Complaint). It is contended that in
reliance on the Lufkin Invoice and the Lease, Plaintiff paid Lufkin $109,655.00 for
the purchase of the leased equipment. (see page 3, para. 7, lines 8-12 of the
Complaint).

Plaintiff contended that it did not have ownership or title to the equipment
after it paid the supplier of the equipment, Lufkin, and that the manufacturer of the

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trailers listed in the Exhibit 3 Lufkin Invoice took possession of the trailers and then
refused to release them to K & S (see page 3, para. A of the Complaint). As a result
of the repossession and failure to transfer perfected title, K & S refused to perform
under the Lease claiming that the Lease was unenforceable (see page 3, para. 9,
lines 20-22 of the Complaint).

Plaintiff then contended that CAPNET took certain "actions as set forth
above" which constituted the breach of several representations and warranties of the
Agreement, including, but not limited to breaching warranties set forth in Paragraph
5 of the Agreement." (See page 3, para. 10, lines 23-27 of the Complaint).

Paragraphs 11 through 13 of the Complaint then go on to state that demand |
was made on the Defendants to pay all sums due on the Lease to Plaintiff as a result
of the breach of the warranties but they failed to do so (see page 4, para. 11-13).

The second and third causes of action are throw in causes of action for
accounts stated and indebtedness merely incorporating the allegations from the first
cause of action. No documents are attached to the Complaint remotely evidencing
an "account".

Plaintiff's Complaint is predicated on the terms of the Agreement. As
discussed below in Point 2, the terms of the Agreement directly conflict with the
allegations set forth in the Complaint and therefore the Complaint is subject to the
Motion to Dismiss for failure to state a claim upon which relief can be granted.

II.
TERMS OF THE LEASE ORIGINATOR AGREEMENT AND GUARANTY

Attached as Exhibit to the Complaint is the Lease Originator and Guaranty.
Agreement which is an agreement between Plaintiff, CAPNET and Dustin White

and Blake Johnson as guarantors.

 

' Dustin White and Blake Johnson contend that they are not individually
(footnote continued)

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Paragraph 10 of the Complaint described above, states there is a breach of
several specific representations and warranties by the Defendants in the Agreement.
However, nowhere in the complaint is it described what these breaches are. Even the
demand dated February 18, 2010, attached to the Complaint does not state what the
breaches are other than the contention that the vendor did not have title to the
trailers which are subject to the Lease Agreement with K & S Transportation which
your company originated. Nothing could be further from the truth. Once the court

reviews the Equipment Finance Agreement entered into by and between Plaintiff

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with K & S Transportation, LLC, the Court will see that the representations and

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warranties set forth in the Agreement which Plaintiff prepared are not applicable in
11 || to the Defendants.

12 Exhibit 2 to the Complaint has been described by Plaintiff as an Equipment
13 || Lease Agreement. It is not an Equipment Lease Agreement. It is an Equipment

14 || Financing Agreement evidencing a loan. There is not one word in that document

15 || that discusses a lease being entered into with K&S. As the Court can see, Axis

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16 || Capital, Inc. is described as "Secured Party". K & S Transportation, LLC is

17 || described as "Debtor". There is not leased equipment. There is, however, collateral
18 || for the loan. The Equipment Finance Agreement was not entered into by CAPNET
19 but was entered into by Plaintiff. The Equipment Finance Agreement was not an
20 || assigned transaction originated by CAPNET but is a direct loan between Plaintiff
21 |land K&S. CAPNET merely referred the customer to Plaintiff and Plaintiff did its
22 || own due diligence, wrote its own loan documents, and did its own investigation.

23 || Throughout the documents, the terms "Debtor" and "Secured Party" are used, not
24 || lessee and lessor. The payments to be made on the loan reflected 60 monthly

25

6 || obligated to pay any sums due from CAPNET to Plaintiff because they did not
personally guaranty the Agreement, but that is not the subject of the Motion to
27 || Dismiss.

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payments of $2,729.17. There is no fair market value or any "purchase option" with
respect to the equipment because the transaction is not a lease—it is a loan. There
are no references to Article 10 of the Commercial Code (Article 2A in Nebraska)
which concern equipment lease transactions. All of the terms and conditions of this
Agreement refer to Debtors and Secured Parties and comply with the requirements
of secured transactions in personal property governed by Article 9 of the Uniform
Commercial Code. Therefore, notwithstanding the allegations in the Complaint is
clear that this transaction is not a lease but is a loan.

Why is that important? The "breached" representations and warranties set
forth in Paragraph 5 of the Agreement refer to representations and warranties with
respect to leases submitted to Plaintiff by CAPNET, not loans. Paragraph 5A states
that "each lease submitted as a bona fide obligation ...". Paragraph 5B refers to
leases being submitted for business or commercial purposes. Paragraph SC states
that each lease shall be the sole and complete agreement with regard to the lease of
the equipment. Paragraph 5G states: "That there has been no fraud on the part of
direct or indirect party to any lease which has been submitted to Axis Capital, Inc."
Paragraph 5H states that the lease originator is independent of the equipment vendor
and the lessee, and any and all transactions between the lease originator, equipment
vendor and lessee have been negotiated and consummated at arms length.

The Agreement states that if there is a breach of a warranty or representation
by lease originator, then the lease originator and guarantors were required to
repurchase the lease to which the breach relates.

Thus, the allegations set forth in the Complaint refer to a lease agreement
entered into by and between Plaintiff and K & S because it is obvious that Plaintiff
is well aware that without there being a lease none of the representations and
warranties would be breached. The problem that Plaintiff is faced with is there is no
lease so there is no breach. Thus in the declaration of Dustin White submitted
herewith, Mr. White testifies this reference to a lease with respect to warranties

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being made is not simply a small mistake made by Plaintiff. Instead, the Agreement
was created to refer leases and not loans and that is why the representations and
warranties deal with leases and not all transactions. Moreover, at no time does
Plaintiff even attempt to state what representation or warranty was breached.
Therefore, the allegations of the Complaint directly contradict the terms of the
exhibits, and therefore the motion to dismiss pursuant to Federal Rules of Civil
Procedure, Rule 12(b)(6) must be granted.
Il.
THE FIRST CLAIM FOR RELIEF FAILS TO STATE FACTS UPON
WHICH THE LEASE CAN BE GRANTED AND MUST BE DISMISSED
The exhibits attached to the Complaint and entered into by the parties
contradict the pleadings. The court in Durning v. First Boston Corp. (9 Cir., 1987)
15 F.2d 1265 stated:
"A complaint should not be dismissed under the Rule
‘unless it appears beyond a doubt that the plaintiff can
prove no set of facts in support of his claim which would
entitle him to relief [citations] all allegations and material
facts are to be taken as true and construed in the light most
favorable to the non moving party. [citations] Ifa
complaint is accompanied by attached documents, the
court is not limited by the allegations contained in the
complaint [citations] these documents are a part of the
complaint and may be considered in determining whether
plaintiff can prove any set of facts in support of the claim".
Id. at 1267 [citations].
This statement is consistent with case law in that material properly submitted
with the Complaint (i.e., exhibits under Federal Rules of Civil Procedure 10(c)) may
be considered as part of the complaint for purposes of a Rule 12(b)(6) motion to

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FRANDZEL ROBINS BLOom & CSATO, L.C.

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dismiss ( See Hal Roach Studios, Inc. v. Richard Feiner & Co., Inc. (9 Cir., 1990)
896 F.2d 1542, 1555: Paulemon v. Tobin (2" Cir., 1994) 30 F.3d 307, 308-309; In
re: Colonial Mortg. Bankers Corp. (1* Cir., 2003) 324 F.3d 12, 16: Kaufman &
Broad — South Bay v. Unisys Corp. (ND CA, 1993) 822 F.Supp. 1468, 1472.). A
Plaintiff may plead themselves out of court by attaching exhibits inconsistent with
their claims: "W"hen a written instrument contradicts allegations in the Complaint
to which it is attached, the exhibit trumps the allegations See Thompson v. Illinois
Dept. of Proft. Reg. (7" Circuit, 2002) 300 F.3d 750, 754.

One can see from a review of the Complaint, throughout the complaint is
alleged that Plaintiff entered into a lease transaction with K & S, The transaction
was not a lease, it was a loan. These allegations are false and contradicted by the
exhibits.

Even if the Court somehow believed that the transaction was fashioned as a
lease (which it is not), it is elementary law that in order to have a true lease, the

Court must look to Commercial Code, Section 1203, (see Commercial Code

 

Section 1201(35) for definition of security interest) and "that a transaction or form
of a lease creates a security interest is determined pursuant to Section 1203."
Section 1203 of the Commercial Code found in pertinent part:
"(a) When a transaction in the form of a lease creates a
lease or security interest it is determined by the facts of
each case.
(b) A transaction in the form of a lease creates a security
interest that's a consideration that the lessee is to pay the
lessor for the right to possession and use of the goods as
an obligation for the term of the lease and is not subject to
termination by the lessee, and: (1) original term of the
lease is equal to or greater than the remaining economic
life of the goods; (2) lessee is bound to renew the lease for

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NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

 
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the remaining economic life of the goods and is bound to

become the owner of the goods; (3) the lessee has an

option to renew the lease for the remaining economic life

of the goods for no additional consideration or for nominal

additional consideration upon compliance with the lease

agreement; or (4) the lessee has an option to become the

owner of the goods for no additional consideration or for

nominal additional consideration upon compliance with

the lease agreement."

It is clear that the transaction is not a lease since the word lease, lessor, lessee,
or leased equipment is never used in the loan agreement between Plaintiff and K&S.
However, independent of this analysis, pursuant to Commercial Code§ 1203 it is
clear that the transaction is not a lease since there is no purchase option with respect
to the leased equipment as all K & S had to do was to make the monthly payment on
the loan. It was already the owner of the equipment and it pledged it as collateral.
Nothing in the loan agreement states that Plaintiff is the owner of the equipment.
Therefore, as a matter of law, even if Plaintiff contended the transaction was a lease
it is not. | |
In addition to the foregoing, if Plaintiff contends that there is some oral

agreement outside the terms of the Agreement between Plaintiff and CAPNET,
Plaintiff certainly has not alleged it in the Complaint. Further, Plaintiff will have
difficulty making such allegations because all of the Parol Evidence Rule. The
Parol Evidence Rule has evolved under California Code of Civil Procedure § 1856
which states: "(a) terms set forth in writing intended by the parties as a final
expression of their agreement with respect to such terms as are included therein may
not be contradicted by evidence of any prior agreement or of contemporaneous oral
agreement...." In addition, there is a separate Parol Evidence Rule codified for
sales and leases in Commercial Code §§ 2202 and 10202. There have been no

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NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

 

 

 
FRANDZEL ROBINS BLoom & CSATO, L.C.
6500 Wisvire BOuLEVARD, | 7TH FLOOR
Los ANGELES, CALIFORNIA 90048-4920

Case 2:

(323) 852-1000

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allegations stating that the Agreement is not the complete agreement between the
parties. If such contentions were made by Plaintiff to attempt to amend the
complaint, it will run into the bar of the Parol Evidence Rule which would bar such
allegations (see e.g. Bank of America v. Lamb Finance Company (1960) 179
Cal.App. 2d 498; Bank of America v. Pendergrass (1935) 4 Cal.2d 258; Banco De
Brasil, S.A. v. Latian, Inc. (1991) 234 Cal.App. 3d 973). |

Thus, it is clear that the first cause of action, and all other causes of action, are
barred because (a) the Agreement only refers to a breach of warranties and
representations with respect to lease transactions and the transaction is not a lease
and (b) Plaintiff never states what representations and warranties have been
breached.

IV. |
THE SECOND AND THIRD CAUSES OF ACTION FOR ACCOUNT
STATED AND INDEBTEDNESS FAIL TO STATE A CLAIM UPON WHICH
RELIEF CAN BE GRANTED

An "account stated" is an agreement between the parties that a certain sum
shall be paid and accepted in discharge of an obligation. To constitute an account
stated the following facts must appear: (1) at the time of the statement, an
indebtedness from one party to the other existed, (2) a balance was then struck and
agreed to be the correct sum owing from the debtor to the creditor, and (3) the
debtor expressly or impliedly promised to pay to the creditor the amount of thus
determined to be owning. Hence, an account stated is an agreed balance of
accounts; an account which has been examined and accepted by the parties. It
implies an admission that the account is correct and that the balance struck is due
and owing from one party to'the other (see Truestone, Inc. v. Simi West Industrial
Park IT (1984) 163 Cal.App. 3d, 715, 725; Perry v. Schwartz (1963) 219 Cal.App.
2d 825, 829; Withers v. Matthews (1961) 192 Cal.App. 2d 139, 141).

There are no facts alleging that there is an account stated. it is obvious that

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there was no account stated because there is no account. the obligation alleged in the
Complaint arises out of the alleged breach of a representation and warranty and not
an account. It appears that the second and third causes of action are simply State
Court "throw-ins". California law is clear that if a common count is based on the
same cause of action as an unspecific specific count in alternative pleading, the
entire complaint is subject to be stricken (see Weitzenkorn v. Lesser (1993) 40
Cal.2d 778, 793; Del E. Webb Corp. v. Structural Materials Co. (1981) 123
Cal.App. 3d 593, 601; Henderson v. Superior Court (1978) 77 Cal.App. 3d 583,

590). Therefore, both the second and third claims must be stricken as a matter of

 

law.
V.
AT THE VERY MINIMUM THE COMPLAINT IS SUBJECT TO A MORE
DEFINITE STATEMENT

 

Pursuant to Federal Rules of Civil Procedure, Rule 12(b) at the very
minimum, the Complaint needs is subject to a motion for more definite statement
since the Complaint never states which of the representations or warranties were
breached by the Defendants. The Defendants certainly cannot ascertain which
representation or warranties have been breached because the Complaint never

specifies one.

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NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

 
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Thus, in order to state a claim for breach of contract, Plaintiff must specify |

the nature of the breach.

DATED: July 8, 2010 FRANDZEL ROBINS BLOOM &

CSATO, L.C.

By: /s/ Andrew K. Alper

 

ANDREW K. ALPER

Attorneys for CAPITAL NETWORK
FUNDING, a California corporation dba
CAPITAL NETWORK LEASING CORP.
also dba CAPNET LEASING; DUSTIN
WHITE and BLAKE JOHNSON

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6500 WILSHIRE BOULEVARD, 1 7TH FLOOR

Los ANGELES, CALIFORNIA 90048-4920

Case 2:

(323) 852-1000

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DECLARATION OF DUSTIN WHITE

I, Dustin White, declare as follows:

l. I am the Chief Executive Officer of Capital Network Leasing Corp.
d/b/a Capital Network Funding ("CAPNET") and was the Chief Executive Officer
on January 18, 2008.

2. If called upon the testify to the matter stated herein I would
competently testify thereto.

3. I have entered into various assignment agreements and broker
agreements with lenders since the business of CAPNET was to originate either
leases or loans and then sell them to third parties. Occasionally, CAPNET would
fund or hold a lease or a loan for its own account but all of the leases and loans were
either brokered, discounted, or originated by CAPNET and sold to third parties.

4, I am familiar with the relationship by and between Axis Capital, Inc.,
Plaintiff herein ("Plaintiff") and CAPNET. CAPNET originally entered into a
similar Lease Originator Agreement with Plaintiff in September, 2003. The Lease
Originator Agreement & Guaranty attached as Exhibit 1 to the Complaint and
attached hereto and marked as Exhibit 1 was executed by both Blake Johnson,
President of CAPNET, and me. Both agreements were drafted and prepared by
Plaintiff and sent to us for execution. I had no part in the drafting of these
documents.

5. I have executed many similar Broker Agreements and Assignment
Agreements with other funding sources. The Exhibit "1" agreement was executed
for the purpose of brokering or discounting lease transactions to Plaintiff. Typically,
a funding source will have different agreements when loans are brokered or
discounted or funded as opposed to when leases are discounted or funded. This is
because the representations and warranties will be different because the transaction
is different. The Exhibit "1" agreement clearly was for the purpose of brokering or
discounting leases and not loans.

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NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

 

 

 

 
FRANDZEL ROBINS BLOOM & CSATO, L.C.

SS00 WILSHIRE BOULEVARD, | 7TH FLOOR

Los ANGELES, CALIFORNIA 90048-4920

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6. On all transactions submitted to Plaintiff it did all of its credit review
and due diligence. It did not ask CAPNET to assist with the credit process.
Typically, if CAPNET were to enter into a lease on its contract, it will do the credit
review and due diligence along with the funding source. In this situation, when
CAPNET simply referred a loan to Plaintiff, it was not involved in the credit review
and due diligence process. CAPNET essentially sent an Application and the
information it had along with anything else requested by Plaintiff with respect to the
loan.

7. The allegations of the Complaint which refer to representations and
watranties in the Exhibit "1" agreement as to lease transactions have nothing to do
with the matter at bar. The transaction involving K & S Transportation, LLC ("K &
S") attached hereto, marked Exhibit 2 and incorporated herein by this reference
referred by CAPNET to Plaintiff was a loan. CAPNET made no representations or
watranties regarding this transaction to Plaintiff. CAPNET did not do any of the
due diligence or credit information on this transaction.

8. When Plaintiff learned that it could not get the documents necessary to

perfect title to the trailers which were collateral, Plaintiff request that CAPNET

‘assist it in trying to get title. Since CAPNET cooperates with all of its funding

sources, it too retained counsel for the purpose of advising Lufkin, the manufacturer
of the trailers that it was required to turn over the title documents but CAPNET got
nowhere convincing Lufkin to do that. This was done as a courtesy to Plaintiff but
not because it had any duty or obligation to do so.

9. CAPNET nor any of its principals made no representations or
representations or warranties to Plaintiff on this transaction and the paragraph 5
representations and warranties are inapplicable.

I declare under penalty of perjury under the laws of the State of California, in

the United States of America the foregoing is true and correct.

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FRANDZEL ROBINS BLOOM & CsatTo, L.C.

6500 WILSHIRE BOULEVARD, | 7TH FLoorR

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Executed this 7 Yay of July, 2010, Los Angeles, California.

 
    

Dustin White, Declarant

 

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NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

 

 
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EXHIBIT 1
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a

 

LEASE ORIGINATOR AGREEMENT & GUARANTY

This Agreement sets forth the agreement betiveen AXIS Capital, inc. Capital Network Leasing Corp. (hereinafter
“Lease Originator’); Dustin White and Blake Johnson (hereinaiter collectively referred to as “Guarantors”) with
Tespect to ahy transactions submiitted-to AXIS Capital; Inc. by Lease Originator. The parties hereby agree as follaws:

tw

Scope: This:Agreement applies.to all transactiorts:submitted by Lease Originator to AXIS Capital, Inc:
until such.Cime as this Agreement is terninated or superseded by another agreement,

Disclosure of Infotmation.. Lease Otiginator Shall, in connection with each transaction submitted, fully
‘inform AXIS Capital, inc, 45° all nialetial inforniation known to Lease Origiaator coricerning the
transaction, including, but adt littited to, infortiation regarding the proposed lessee ‘and the proposed
lessex's credit worthiness, any Yendor, and the equipment’to be. leased. This duty extends.to any. changes
Occurring or discovered after thé transaction has heen submitted:

Documentation. Ail transactions:shall be documented to. AXIS:Capital, Ino."s complete satisfaction in-form

“acceptable ta AXIS Capital, Iué.,in ANUS Capital, tnc:'s sole discretion.

Notices 19 Applicants. ‘In the:évont thet federal laws and regulations réquife, with respect to-any submitted
trarisactiOji, that certain notices be provided to proposed lessees, iti¢luding but not limited to disclosure 6f

the-right to request Specific reasons fot credit denial and notice of action-taken arid statement of reasons for
such, Leasé Origiiiator warrants that all such notices will have been provided cy:the proposed lessee, or will

be provided at the appropriate time, as ptéstribed.
it& Lesse‘Originator hereby warrants, with tegard to cach trarisaction to be ©

     

ease Originator Warrai
submitted, as: foltow::

a. That each lease -subtnined is x bona fide-obligation of the respective (éssee.and any'co-lessees:anid

 

will be valid arid enforceable according to its: terns: Any. guaraftets theiéof Will be bona fide ;
obligations of the guarantors and-will be valid aid enforceable according to their terras..All
ddcumemts provided ia-connection with each iteasactign shall be duly executed by the appropriate
parties, who will-have been duly authorized to execute.same, aid will be enforceable in
actordatice with their terms: .

 

b.. All teases tobe ‘submited will be-for business or comméiéial purposs only and'not for personal,
fainily, or household purposes.

c. Bach lease shall’be.the sole and complete agreement with regard to the {eases of the equipment,
and, there will bene other agreements if force a3.a result-of-représeidtions or warranties made'by
Lease Originator, with respect to the equipment, or the.léase thereof. -

d. tn the event that. a transaction submitted to AXIS: Capital, Inc. is “retrokered’? és that term is
generally understood in the industry, Lease Qrigiiator:will have idetitified tq AXIS Capital, inc.
any parties from whoat:Lease Originatox accessed the transaction, Without limiting the generality

Of the foregoing, the tériii “rebroKered” includes all transactions submitted wherein it is-

contemplated that any remuneration will be paid by Lease Origitiator to arly party. other than Lease :

Originator's employees, in the. event that Uie (ransactiofi is accepted by AXIS Capital. inc.

Failure to disclose a third party who-is fo be so-couipensated. will constitite a bréach of this Lease
Originatar Agreeménit.

¢. That the person signing this agreement, has the authority to do so.

f Thar every Signature.on any dociiment submited to AXIS Capital, Inc. is aivactual signature of the
signor,

Lease Originator Agresment~Page | of

EXHIBIT _4.

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“ Lease Originator Agreeinent—Page 203

this agreement.

- ahd alléxpense: injury aid damage, including reasonable attorney fees, which AXES Capital, Inc, may

_ shall be Lease Orizinaot's cote responsibility

with AXIS Capital, Inc.|

ame

2 That there has been no fraud on the part of any direct.oc indifect party to any féase which has been
Submided to AXIS.Capilal, {ne.

h. The Lease Originator is independent of the equipment vendor-and the lessee, aid-thy and alt
transactions between the Leas¢ Originator, equipment vendor, and lessee-have been negotiated and
‘cmsurumated at arms length. .

Breach of Warranty or Representation. [f any of the above warraiities or representatioris or ally other
cé¥vedant, obligation or duty is breached by the Lease Originator, théa, apon AXIS Capital, inc,’s demand,
pon 15 days written notification trom Axis Capital, Inc: , Lease Ofiginator and Guarantors will repurchase
any lease to which the. breach relces, The repurchase:price in‘each case shall include the unpaid balance.of:
suth lease, plus AXS Capital, Ine. ‘s-expenses-( including attorneys" fees ) incurred 16 efiforce the Iease or

, ifrof. riginatot. Lease Originator is, and'shall act a3; an independent cositractor, and as
such, shall havé ii authority'to incur any obligations.or to niake any statements or representations gn
behalf-oF AXIS Capital, Inc, orto'bind or commit. AXIS Capital, Stig. itt any manner, or make, alteror
execute any document of agreemeiit ot behalf of AXIS. Capital, {i6. Lease Originator shall notuse AXIS
Capital, Inc:*snainé 6 arly oF AXIS Capital, Inc's trademarks as part of its firm, trade or corporate name.
Lease Originator shall not actept service of any legal process in anyaction, which may be broiightagainst |
AXIS Capital, tac. (oremploy atianieys toiefend.such, You will promptly send AXIS Capital inc. any
Payments or corréspdadente from lessce or other persons id regards to any lease transaction.

Acts. of Representatives, (cis understood by Lease Originator tteatall of its duties and responsibilities
arising out of this agréemént extend as well-to anyone acting on Lease Originator's behalf. Lease
Qrigiiatat specifically understands that in-the event that it delegates aiiy of its functions, itich as. qbtaining:
documentation of making other arrangements with regard to.atransactioa:to oihers, including vendors or
other Lease Originators, Cease Originator is stilt fully responsible for any and.all such aciions'as if Lease:
Originator tisd takes. sack actions itself. SS :

Indemnity. Lease Ociginafor shill indemnify and hold AXIS Capital Inc, harniless from and against aay

    

 

 

inci, pay of sufferusia tesili‘of actsiof Lease Originator: its principals, employees or represehuatives.

Compéns ign of se Ori ut. Inretum: for Lease Originator's efforts.in connection with ny
transaction Submitiéd by Least Originalor.aad accepted by AXIS Capital, tnc., AXIS:Capital, Inc. shall-it
theranséction 13 ac AXIS Capital, Inc."s-standard thtes fr transactions of similar size and risk, fiay Lease
Originator AXIS Capital, Inc.'s standard Lease Originator fee theicon in accordance-with AXIS Capital,
Inc.'s then current Lease.Originator fee schedule. ~ . :

  

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of Lease Originator. AXIS Capital, tie. shall wot be liable Tor any expenses-incurted by Lease
inConaection with any transaction. submitted by Lease Originator. Any ard all-such éxpetises

 

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i tion oC Agr ment. This.agreement stall Lie effective at the time of its execution by-AX 1S‘Capital, j
Inc, and shalt- continue ia effect until terminated by either party upon written notice. The rights and
obligations of the parties hereunder with féspect 16 transactions originated prior to-termination of this
agreement shall survive such termination, , .

 
 

ualification of Lease Originator; Lease Originator shall feom time to time, upon request by AXIS Capital,
lnc.,submit information to AX! Capital, nc. as AXIS Capital, Inc. deems appropriate in order vo assure.
that Lease Originator meets AXIS Capital, Inc.'s standard with respect-to qualification to transact business

 

Prercwe

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Agreed to'by and'between the: undersigned parties this 4

 

GUARANTOR: Dustin White
By.

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concedes that it, and each of thei, gransacted business iit the

proceeding arisitig out of this: Agreement. and
State of Nebraska. by entering into diis Agreement. Any controversy or claitit arising Out of or related to
this, Agreement or the breach thereof, shall be settles by arbitration, in accardance ‘with the rulés then

obtaining of tie American, Arbitration Assoclation, ali judgment upon the award rendered may be eritered

in ariy court of the forum, siate of Sederal, having juiisdiction. tn the event of legal action or-aibitration to
enforce the terms of this Agreement, Lease Originatoragrees that venue may be laid in Hall-County.
ifenfarcement action is taken by AXIS Capital, Inc; id enforce any term of this Agreement, the prevailing.
party if such aotion shall be-entitled to-& reasonable aftamey fee. including atiomey fees incutted.at tial,

On appeal and review: or incurred without sctions, suits of procesdings, together with all.costs and expenses
incurred in pui¥gditthereof: -

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ASE ORIGINATOR: Capital Neework Leasing Corp. |

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‘Lease. Originator Agreemerit--Page 3 of 3

 

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EXHIBIT 2
 

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po. ~~
AXIS CAPITAL INC (“Secured Party’) 308 NOATH LOCUST STREET Agrescicet Momber 4 Cassorner Number
GRAND ISLAND NE 62508 q 7ie04 / OMYIS’
A. Debtor: Supplier:
K & 8 TRANSPORTATION, LLC LUFKIN TRAILERS OF ALABAMA
90130 HWY 9 26 SAINT MARY ROAD

LINEVILLE AL 36266
CORNELIA KERLEY

LINCOLN AL 35096

 

B. Coltateral (Quaxay, Description & Serial No.)

 

 

 

 

 

 

 

Equipment Description: (and/or as described in invoice(s) or equipment list stached hereto and aiade a part hereof collectively, the “Equipmest")
Location: 90330 HWY 9, LINEVILLE, AL 36266
_C. Schedule of Payerents:
tndial =]. Tolal Number Amount of Each Total taltial Payment $5,458.34 - Total Advance
Term Of Payments Payment 2 Amount
(in Mocthe) | First: $2,729.17 Doc. Fee: $430.00
60 6 $2,729.17 Last: $2,729.17 Deposit: _$.00 $5,688.34

 

 

 

 

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Secured Party: _ AXIS CAPITAL ING

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THIS AGREEMENT, THE TESMS oF WHICH HAVE BEEN FREELY REGOTIATED BY EACH FARTY, ISSUSJECT TO Bid TERMS AND COND!

BY EXECUTION OF THIS AGREDMDHS, THE UNDERSIGNED # HERESY CERTIFIES THAT MEHE IS AUTHORIZED oY DEBTOR TO APPROVE EQUIPMENT
AND TO APPROVE, EXECUTE AND DELIVER TO SECURED PARTY A FINANCE AGREEMENT AND SUCH DOCUMENTATION AND ACTION
COVERING SUCH EQUIPENT AS NECESSARY TO EFFECTUATE AND PERFORM SUCH FINANCE AGREEMENT,

THIS IS A NON-CANCELABLE AGREEMENT.
Ocowr: K&S TRA TATIONS:

 

6. DISCLAIMER OF WARRANTIES AND CLAIMS: LIMITATION OF REMEDIES, THERE ARE NO WARRANTIES BY OF ON BEHALF OF SECURED PARTY ANDO NEITHER THE SUPPLIER
G AGREES BY ITS SIGNATURE BELOW AS FOLLOWS: (A) SECURED PARTY MAKES NO |

OR BUSINESS PURPOS!
OR WARRANTED BY THE OR MANUFACTURER, OR IS UNSATISFACTORY FOR
OEBTOR'S ONLY REMEDY, IF ANY, Be ROEM, CO ene EA OR MANUFACTURER OF THE COLLATERAL

OF CAUSE OR CONSEQUENCE,
AAO NOP NOANST SECURED PAE (E) DEBTOR SHALL HAVE NO REMEDY FOR CONSEQUENTIAL OR ‘Al, DAMAGES
THE COLLATERAL FOR ANY PURPOSE SHALL SHALL REEVE DEBTOR OF THE OBLIGATION TO MAKE PAYMENTS OR RELIEVE DEBTOR OF ANY OTHER

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AGAINST SECURED PARTY: AND (F) NO DEFECT,

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THE STATE OF NEBRASKA. CU.
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EXPRESSLY WAIVES ANY RIGHT TO A TRIAL BY JURY,

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JARANTOR

CONSENTS TO THE JURISDICTION OF ANY STATE OR FEDERAL COURT

 

   

 

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EXHIBIT o-

 

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TERMS AND CONDITIONS

1. Defintlons; Reports: ‘The words "you" end “your reles to the DEBTOR, its successors aed axsgns,
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2. Acceptance: We agree & tend to you, aul you agree 40 borrow frogs us, ent erount jor the purchase
of; equipment, dante, produds, scltware, services, ars other Cascrbed or mlerenced

Signature thereon acct upod receipt by us, De Agreement
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3. Seovdly interest You heveby grant to us # seourly inleceel under te Undone Commercial Code
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4 2 You precniae t pay us the peymenis shown on the firel pegs, in advetoe, commencing o«

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PAGE 2 OF 2

 

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Tara

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ay -“
EQUIPMENT LIST
AGREEMENT NUMBER: _ 1700
SECURED PARTY: DEBTOR:.
AXIS CAPITAL INC K & § TRANSPORTATION, LLC
308 NORTH LOCUST STREET 90330 HWY 9
GRAND ISLAND NE 68801 - LINEVILLE AL 36266
EQUIPMENT. QUANTITY AND DESCRIPTION;
1 2008 STOUGHTON A/R VAN TRAILER IDW1A532X8S052869
to 2008 STOUGHTON A/R VAN TRAILER 1DW1A53268S052870
1 2008 STOUGHTON A/R VAN TRAILER IDWIA$3288S052871
I 2008 STOUGHTON AJR VAN TRAILER TDW1AS32X8S8052872
1 2008 STOUGHTON A/R VAN TRAILER 1DW1A$3218S052873

A photocopy or facsimile of this Equipment List will be legally admissible under the “best evidence rule.” A signed copy of this
Equipment List sent by facsimile shall be treated as an original document aod shall be admissible as evidence thereof, and all
Signatures thereon shall be binding as if manual signatures were personally delivered. ,

   

  
  

 

AXIS CAPITAL INC K & S TRANSPORTATION, LLC
Br_Muundt Museen) __ By. yaa

Title Asst Soc, Title: MEMBER

Date = TU-0)F Date: 02/18/08

 

 

Tan

A
FRANDZEL ROBINS BLoom & CSATO, L.C.

S500 WILSHIRE BOULEVARD, | 7TH FLOOR

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Los ANGELES, CALIFORNIA GOO48-4920

(323) 852-1000

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Oo ND A FP WN K§ DOD OO DH AIT HD NW BR WD PB & OC

 

 

PROOF OF SERVICE
I, the undersigned, declare and certify as follows:

I am over the age of eighteen years, not a party to the within action and
employed in the County of Los Angeles State of California. I am employed in the
office of Frandzel Robins Bloom & Csato, L.C., members of the Bar of the above-
entitled Court, and I made the service referred to below at their direction. My
business address is 6500 Wilshire Boulevard, Seventeenth Floor, Los Angeles,
California 90048-4920

On July 9, 2010, I served true copy(ies of the NOTICE OF MOTION AND
MOTION TO DISMISS CLAIMS F ONEY FOR FAILURE TO STATE
A CLAIM ON WHICH RELIEF CAN BE GRANTED OR,
ALTERNATIVELY, MOTION FOR A MORE DEFINITE STATEMENT;
DECLARATION OF DUSTIN WHITE the original(s) of which is(are) affixed
hereto. to the party(ies) on the attached service list.

BY MAIL: I am “readily familiar” with the firm’s practice of collection and
rocessing correspondence for mailing with the United States Postal Service.
Inder that practice, it would be deposited with the United States Postal
Service that same day in the ordinary course of business. Such document(s)
were placed in envelopes addressed to the person(s) served hereunder for
collection and mailing with postage thereon fully prepaid at Los Angeles,
California, on that same day following ordinary business practices.

[] BY FAX TRANSMISSION: At approximately , | caused said
document(s) to be transmitted by facsimile. The telephone number of the
sending facsimile machine was (323) 651-2577. The name(s) and facsimile
machine telephone number(s) of the person(s) served are set forth in the
service list. The document was transmitted by facsimile transmission, and the
sending facsimile machine properly issued a transmission report confirming
that the transmission was complete and without error.

BY OVERNIGHT DELIVERY: I deposited such document(s) in a box or
other facility regularly maintained by the overnight service carrier, or
delivered such document(s) to a courier or driver authorized by the overnight
service carrier to receive documents, in an envelope or package designated by
the overnight service carrier with delivery fees paid or provided for,
addressed to the person(s) served hereunder.

I certify under penalty of perjury under the laws of the State of California and
the United States of America that the foregoing is true and correct.

Executed on July 9, 2010, at Los Angeles, California.

          

neue

Monica Clemens

 

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NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

 
FRANDZEL ROBINS BLOOM & CsatTo, L.C.

S500 WILSHIRE BOULEVARD, | 7TH FLOOR
LOS ANGELES, CALIFORNIA 90048-4920

Case 2:1

(323) 852-1000

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SERVICE LIST

Stephen E. Jenkins, Esq.

HEMAR, ROUSSO & HEALD, LLP
1591 0 Ventura Boulevard

12° Floor

Encino. California 91436

727475.1 | 100573-0001 2-3

 

NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

 

 

 
